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13

14                          UNITED STATES DISTRICT COURT

15                       NORTHERN DISTRICT OF CALIFORNIA

16
                                   SAN JOSE DIVISION
17

18
     FEDERAL TRADE COMMISSION,               Case No. 5:17-cv-00220-LHK
19
                      Plaintiff,             TRANSLATION IN SUPPORT OF
20                                           STATEMENT OF RECENT DECISION
                vs.
21
     QUALCOMM INCORPORATED,                  Judge: Hon. Lucy H. Koh
22   a Delaware corporation,
23                    Defendant.
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                                                       TRANSLATION IN SUPPORT OF
                                                    STATEMENT OF RECENT DECISION
                                                       Case No. 5:17-cv-00220-LHK-NMC
      Case 5:17-cv-00220-LHK Document 1480 Filed 03/28/19 Page 2 of 3



 1          On March 15, 2019, Qualcomm Incorporated (“Qualcomm”) submitted a Statement of
 2   Recent Decision pursuant to Civil L.R. 7-3(d)(2), bringing to the Court’s attention the Japan Fair
 3   Trade Commission’s recent Decision in Case No. 2010 (Han) No. 1 (“JFTC Decision”). (ECF
 4   1477.) As stated in the March 15, 2019 submission, Qualcomm hereby submits a certified
 5   English translation of the JFTC Decision, attached as Exhibit A hereto.
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 7    Dated: March 28, 2019                                 MORGAN, LEWIS & BOCKIUS LLP
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 9                                                   By:    /s/ Geoffrey T. Holtz

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